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JACKSONVILLE, FLORIDA

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UNITED STATES DISTRICT COURT 5s mii CUR
MIDDLE DISTRICT OF FLORIDA sale Ei: BIGRICT GEELONEIA
JACKSONVILLE DIVISION
UNITED STATES OF AMERICA
V. CASE NO. 3:24-cr-248-MMH-MCR

ROBERT WILLIAM CARROLL

UNITED STATES' NOTICE OF MAXIMUM PENALTIES
ELEMENTS OF OFFENSE, PERSONALIZATION OF ELEMENTS
AND FACTUAL BASIS

COMES NOW the United States of America, by and through the undersigned
Assistant United States Attorney, stating as follows:

A. MAXIMUM PENALTIES

The maximum penalties for the offense charged in Count One ofthe
Information, possession of forged or counterfeit post office keys, in violation of 18
U.S.C. § 1704 is a term ofimprisonment ofnot more than ten years, a fine of not
more than $250,000, or both a term ofimprisonment and a fine, a term of supervised
release of not more than three years, and a special assessment of $100, said special
assessment to be due on the date of sentencing. A violation of the terms and
conditions of supervised release is punishable by a maximum sentence of not more
than two years of additional imprisonment as well as the possibility of an additional

term of supervised release.
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B. ELEMENTS OF THE OFFENSE

The elements of Count One ofthe Information, a violation of 18 U.S.C.
§ 1704, possession of forged or counterfeit post office keys, are as follows:

First: The Defendant knowingly possessed forged or counterfeit
Post Office Keys; and

Second: The Defendant intended to use the keys unlawfully and
improperly.

C. PERSONALIZATION OF ELEMENTS
L On or about August 21, 2021, in the Middle District of Florida, did
you knowingly possess forged or counterfeit post office keys?
2. Do you admit that you intended to use the keys unlawfully and
improperly?
D. FEACTUALBASIS
On August 25, 2021, United States Postal Inspectors were contacted by
Jacksonville Sheriffs Office regarding an incident in which Robert CARROLL and
his roommate Terry Leu were being evicted from the Crescent Ridge Apartments in
Jacksonville. In the residence where CARROLL and Leu were residing there was a
total oftwenty-one counterfeit Arrow Keys found along with two United States Post
Service locks. The keys and tools to make these keys were discovered in different
rooms ofthe apartment. The U.S. Postal Service uses specialized keys called Arrow
Keys for the sole purpose of collecting and accessing mail from various Postal
Service controlled mail receptables. The Arrow Keys are specifically designed to

only fit locks that are designed and distributed by the Postal Service. They are

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designed so that they are only able to open mail receptables in designated zip codes.
The locks that were discovered in the apartment had the number "248" imprinted on
them. This series number indicates that this lock is only used in Duval County in the
State of Florida. These locks would only be accessible to the Post Office Keys
designated for the zip code beginning with the numbers 322, CARROLL was
interviewed by Postal Inspectors where he admitted that he possessed the counterfeit
postal keys with the intent to use them for stealing United States mail. CARROLL
admitted that he and his roommate learned how to forge the keys by watching videos
on the Internet. CARROLL admitted that both he and his roommate attempted to
use one of the counterfeit keys in a locked mailbox in an apartment complex in

Jacksonville, however once the key was placed in the lock it broke.

Respectfully submitted,

ROGER B. HANDBERG
United States ir

PEN lan IZZARO
hp ssistant United States Attorney
Florida Bar No. 25790
300 N. Hogan Street, Suite 700
Jacksonville, Florida 32202
Telephone: (904) 301-6300
Facsimile: (904) 301-6310
E-mail: john.cannizzaro@usdoj.gov

